                     Case 4:16-cr-00288-DC Document 1 Filed 06/29/16 Page 1 of 3


AO 91 (Rev.   11/11) Criminal Complaint
                                                                                                                      FILED
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                                                                                                                               2 V

                                  UNITED STATES DISTRICT                                                              U        D8TRlT COURT
                                                                    for the                     CoL$ul8 rtct OF TEXAS
                                               Western District of Texas, Pecos Div.
                          United States of America                       )
                                          V.
                                                                         )

                                                                         )

                                                                         )
                                                                                 CaseNo.
                                                                                                            M (35 ()
                              See Attached


                                  Defendant(s)


                                                         CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is
                                                                              of my knowledge and belief.
                                                                        true to the best
     On or about the date(s) of         6/27/2016         in the county of Presidio                                                  in the
     Western            District of Texas         the defendant(s) violated:
                                                               ,




                                    Code Section
                                                                                             Offense Description
      Title 21 USC Section 841                     (a) (1)   and Title        Aided and Abetted by others, Knowingly
      18 USC (2).
                                                                              and Intentionally Possessed with Intent
                                                                              to Distribute Marijuana
                                                                                                       (Approximately
                                                                              61.0 pounds/27.7 kilograms).



    This criminal complaint is based on these facts:
      See Attachment:



                                      :




              U       .
                           AflNEY
               Li   Continued on the attached sheet.



                                                                                           Complalnants signature
                                                                             Justin Millican, Task Force Agent
                                                                                                        e and title
   Sworn to before me and signed in my presence.

   Date:                  6/29/2016

   City and state: Alpine, Texas
                                                                             David B. Fannin, US Magistrate Judge
                                                                                             Printed name and title
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                                     ATTACHMENT
  DEFENDANTS:
  Jilda Luz IRE VINO
  Isai Angel SIJSTAITA
  Sandra Annette MARTINEZ


 FACTS:
  On June 27, 2016, Border Patrol Agent (BPA) Steven
                                                            Rose was notified of a concerned
 citizens report of seeing a green sports utility vehicle (SUV)
                                                                  loading up a tire near
 Alamito Creek at approximately 2:45 P.M. BPA Rose began
                                                                   driving east on FM 170
 from Fort Leaton in his marked Border Patrol vehicle toward
                                                                   Alamito Creek looking for
 the described vehicle. Approximately one mile east of Fort
                                                                 Leaton he observed a green
 SUV similar to the one describe traveling westbound into
                                                               Presidio. BPA Rose observed
 the driver and passengers of the vehicle were sitting
                                                         rigidly in their seats and staring
 straight ahead as if they were very nervous.

 Due to the proximity to the border in a known human and
                                                            drug smuggling area, as well as
 observed nervous behavior, and the vehicle matching the
                                                           description provided by the
 caller, BPA Rose turned around and started following the
                                                           SUV west toward Presidio,
 BPA Rose initiated a vehicle stop on the Pontiac Aztec at
                                                           2:53P.M.
Upon approaching the vehicle BPA Rose observed three
                                                         occupants inside, later identified
as Jilda Luz TREVINO (driver), Sandra Annette
                                                 MARTINEZ (passenger), and llsai
Angel SUSTAITA (passenger). BPA Rose observed a
                                                      spare tire in the rear of the vehicle
that was partially obscured by a blanket while approaching
                                                           the SUV. BPA Rose then
proceeded to the front window of the SUV and identified himself
                                                                  as a United States
Border Patrol Agent and questioned the occupants of the
                                                         vehicle as to their citizenship.
During questioning, BPA Rose noticed that the Jilda IRE
                                                          VINO's hands were shaking as
she produced her identification.

At approximately 2:55 P.M. Border Patrol Intel Helio
                                                         Franco asked for and was granted
consent to search the vehicle. A search of the SUV's trunk
                                                                area revealed that the spare
tire BPA Rose initially observed was not the proper size
                                                             to fit the Pontiac Aztec. In
addition the tire was wet and muddy which is consistent with
                                                                   a tire that had been drug or
rolled across the river. As air from the tire was released, the
                                                                 odor of marijuana could be
smelled.

All subjects were advised of their rights by BPA Alberto
                                                         Mora and transported to the
Presidio Border Patrol Station for processing.
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  Task Force Agent (TFA) Justin Millican and Task
                                                       Force Officer (TFO) Douglas
  McIntyre from the Alpine Drug Enforcement
                                                  Administration (DEA) Office responded to
  assist with the investigation. All subjects were read
                                                        their Miranda Rights in the English
  language and acknowledged that they understood their
                                                           rights. All subjects waived their
  Miranda Rights and said they would speak with the
                                                        agents without the presence of an
  attorney.

  During the investigation all three subjects admitted to
                                                          picking up the spare tire that
  contained marijuana on FM 170 east of Presidio, Texas.
                                                             All three stated that a Hispanic
 male flagged them down on FM 170 by waving his
                                                        cap and they pulled over and he
  loaded the spare tire into the back of the Pontiac
                                                     Aztec. Jilda TREVINO stated that she
 was to be paid $3,500.00 to pick up the tire and
                                                    transport it through the checkpoint. Jilda
 TREVINO also said that she was to pay Sandra
                                                    MARTINEZ $500.00 to use her car to
 transport the tire.

 The tire contained 60 bricks of suspected marijuana
                                                     totaling approximately 61.0 pounds I
 27.7 kilograms.

 All subjects were transported to Brewster
                                           County Jail for further processing.




                                      June 29, 2016
Justin Millican
Task Force Agent
Drug Enforcement Administration


Swo       o        and subscribed in my presence,

7YYVA
David B. Fannin
United States Magistrate Judge
